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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
- - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - -
TOUSSAINT L’OUVERTURE MINETT, SR.,

                                                                         ORDER
                             Plaintiff,
                                                                      19-cv-205-bbc
              v.

OFFICER KREUTER,

                            Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - -
        On October 22, 2020, I dismissed a complaint by pro se plaintiff Toussaint

L’Ouverture Minett, Sr., alleging that defendant Officer Kreuter at the Rock County jail

flashed the beam of his flashlight in plaintiff’s eyes. Dkt. #44. I concluded that plaintiff

failed to exhaust his administrative remedies at the jail before filing suit. Now plaintiff has

filed a motion for reconsideration, dkt. #46, but he repeats the same arguments that he

made in response to defendant’s motion to dismiss and has not identified any legal or factual

errors in my prior decision. Therefore, I will deny his motion.



                                           ORDER

       IT IS ORDERED that plaintiff Toussaint L’Ouverture Minett, Sr.’s motion for

reconsideration, dkt. #46, is DENIED.

       Entered this 9th day of November, 2020.

                                           BY THE COURT:

                                           /s/
                                           ________________________
                                           BARBARA B. CRABB
                                           District Judge
